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17                        UNITED STATES DISTRICT COURT
18           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
19    MACOM TECHNOLOGY                Case No. CV 16-02859 CAS (PLAx)
      SOLUTIONS HOLDINGS, INC. and
20    NITRONEX, LLC,                  DEFENDANTS INFINEON
                                      TECHNOLOGIES AG AND
21                  Plaintiffs,       INFINEON TECHNOLOGIES
                                      AMERICAS CORP.’S
22         v.                         OPPOSITION TO PLAINTIFFS’
                                      MOTION FOR PRELIMINARY
23    INFINEON TECHNOLOGIES AG, et    INJUNCTION
      al.,
24                                   [Declarations and Exhibits thereto filed
                    Defendants.      concurrently herewith]
25                                   Hon. Christina A. Snyder
26                                   Date: October 17, 2016
                                     Time: 10:00 a.m.
27                                   Ctrm.: 5
28
                                                DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
                                                  MOTION FOR PRELIMINARY INJUNCTION
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 1                                    INTRODUCTION
 2          MACOM moves for a preliminary injunction solely on its third claim for
 3    relief, which seeks a declaratory judgment that the 2010 License Agreement is not
 4    terminated. Although MACOM does not dispute that it exceeded the scope of its
 5    patent license, MACOM seeks to avoid the consequences of its misconduct by
 6    preventing Infineon Americas1 from terminating the parties’ License Agreement.
 7    Put simply, MACOM cannot show a likelihood of success on improper termination.
 8    MACOM does not dispute (1) that the parties negotiated and agreed to
 9                      and (2) that MACOM violated those limitations by practicing the
10    licensed patents outside the scope of its license grant. To argue that its misconduct
11    did not justify termination of the License Agreement, MACOM asserts that
12    exceeding the scope of a patent license cannot constitute a breach of contract as a
13    matter of law. MACOM, however, totally disregards that the parties’ License
14    Agreement has a covenant of good faith and fair dealing under California law. The
15    only court decision on point held that a patent licensee violates that covenant of
16    good faith and fair dealing when it exceeds the scope of its license. Moreover, even
17    if the License Agreement did not include a covenant of good faith and fair dealing,
18    courts have implied a separate, negative covenant not to exceed the scope of a
19    license in similar factual circumstances.
20          MACOM also fails to meet its burden to show irreparable harm due to the
21    termination of the License Agreement. MACOM starts with two unsupportable
22    legal arguments, wrongly asserting that
23                                                and that the termination of an exclusive
24    license is per se irreparable harm. Neither assertion is supported by the law.
25    MACOM later alleges loss of business, but only by misleadingly and improperly
26
            1
               The 2010 License Agreement and other agreements at issue involve
27    International Rectifier Corporation, which in 2015 changed its name to Infineon
      Technologies Americas Corp. (“Infineon Americas”).
28
                                                      DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
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  1   shifting from the claim for relief on which it has moved (its third claim for relief) to
  2   a different claim for relief on which it has not moved (its second claim for relief).
  3   MACOM contends that it may lose business if, as MACOM alleges in its second
  4   claim for relief, Defendants market GaN-on-Si RF products
  5                                            MACOM did not move on that claim for
  6   relief because MACOM cannot show a likelihood of success on the merits.
  7   MACOM’s only alleged evidence in support of its factual allegation is a single,
  8   triple hearsay statement—a declaration by MACOM’s head of sales in Asia
  9   describing a conversation with a staff member about a separate conversation that
10    the staff member allegedly had with a customer about a separate conversation that
11    the customer allegedly had with an employee of some unidentified Infineon
12    affiliate. MACOM’s triple hearsay is contradicted by Defendants’ non-hearsay,
13    admissible declaration submitted with this brief.       At bottom, MACOM cannot
14    satisfy its elements of proof with respect to its third claim for relief—the sole claim
15    for relief on which it moves.
16          MACOM also misleadingly submits a proposed order with an overbroad
17    injunction that is not tied to the particular claim for relief on which it moves. Even
18    though MACOM moves solely on its third claim for relief on improper termination,
19    MACOM’s proposed order does not focus on termination. Instead, MACOM’s
20    proposed order would enjoin Defendants from breaching the License Agreement—
21    which is far broader relief encompassing at least MACOM’s first, second, and
22    fourth claims for relief, and more. MACOM has not even tried to satisfy the
23    elements of proof necessary to obtain an injunction for those claims. Even if it had,
24    MACOM still would not be entitled to an injunction against any breach imaginable.
25          Moreover, MACOM cannot obtain any injunction against Infineon
26    Technologies AG (“Infineon AG”) because MACOM cannot establish personal
27    jurisdiction over Infineon AG and because Infineon AG is not a party to the
28
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  1   agreement at issue. For at least these reasons, the Court should deny MACOM’s
  2   motion for preliminary injunction.
  3                              STATEMENT OF FACTS
  4         From the very beginning, the dealings between Infineon Americas and
  5   Nitronex involved more than merely patents. On the same day that the parties
  6   executed their 2004 License Agreement (Dkt. No. 80, Ex. A), they also executed a
  7   Technology Transfer Agreement (Ex. 1).
  8
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14          In 2010, continuing their ongoing relationship, Infineon Americas purchased
15                                                 from Nitronex.
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                                                   DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
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 10         GaN-on-SiC technology provides superior performance in RF power products
 11   as compared to GaN-on-Si, offering higher power density and higher efficiency at a
 12   given frequency. (Ward Decl. ¶ 7.)
 13          MACOM then acquired Nitronex and
 14                                         Infineon Americas was therefore surprised to
 15   learn that MACOM was making and selling GaN-on-SiC products using technology
 16   covered by Infineon Americas’ patents.        Infineon Americas considered this a
 17   flagrant and material breach of the 2010 License Agreement. Infineon Americas
 18   provided MACOM notice of the breach and an opportunity to cure. (Dkt. No. 80-2,
 19   Ex. D.) When Infineon Americas raised the issue, MACOM admitted the conduct
 20   but dismissed the infringement as inconsequential. (Ex. 3, 12/14/15 Email from
 21   Croteau; see also Dkt. No. 80-2, Ex. F at 6–7.) Despite asserting it had cured,
 22   MACOM instead continued to sell its GaN-on-SiC products. (Dkt. No. 80-2, Ex.
 23   G.)   Infineon Americas therefore exercised its right to terminate the License
 24   Agreement as a result of this material breach. Id.
 25          Although the agreement has been properly terminated,
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                                                     DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
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  4                                  LEGAL STANDARD
  5         A court may grant a preliminary injunction only when the movant has shown:
  6   (1) likelihood of success on the merits of the claim; (2) it will suffer irreparable
  7   harm without the requested injunction; (3) the balance of hardships favors an
  8   injunction; (4) the public interest favors an injunction; and (5) “contractual terms
  9   which are sufficiently definite to enable the court to know what it is to enforce.”
 10   Boardman v. Pacific Seafood Grp., 822 F.3d 1011, 1020 (9th Cir. 2016) (listing
 11   factors (1)–(4)); Int’l Medcom, Inc. v. S.E. Int’l, Inc., No. 15-cv-03839, 2015 WL
 12   7753267, at *2 (N.D. Cal. Dec. 2, 2015) (listing the fifth factor among other
 13   requirements under California law). MACOM fails to carry its burden on any of
 14   these required five elements of proof.
 15                                      ARGUMENT
 16   I.    MACOM has not shown likelihood of success as to its third claim for
            relief.
 17
            MACOM has not shown a likelihood of success on its claim that the 2010
 18
      License Agreement is not properly terminated. Infineon Americas terminated that
 19
      agreement because MACOM breached the agreement by exceeding the scope of its
 20
      patent license. For the purpose of its motion, MACOM is not disputing that it
 21
      exceeded the scope of its patent license. Rather, MACOM’s sole argument is that
 22
      exceeding the scope of its license does not constitute a breach.3
 23
            MACOM initially contends that, as a matter of law, exceeding the scope of a
 24
      patent license is not a breach. (Dkt. 80 at 14:11–15.) But, MACOM later admits
 25
 26         3
               For purposes of its preliminary injunction motion, MACOM is not relying
      on its allegations regarding materiality of the alleged breach or its alleged effort to
 27   cure the breach. (Dkt. 80 at 10 n. 8; Ex. 4 (8/17/16 Email from Amanda Tessar at
      1-2).)
 28
                                                5
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  1   that exceeding the scope of a patent license can constitute a breach when an
  2   agreement includes a negative covenant or promise by the licensee not to act
  3   beyond the scope of its license. (Dkt. 80 at 16:12–14 (“[C]ourt[s] sometimes find
  4   breach when a licensee’s activities go beyond a license [] when the contract has a
  5   ‘negative covenant’—i.e., a promise by the licensee to not act beyond the license.”)
  6   (emphasis in original).)   MACOM also admits that courts may imply such a
  7   negative covenant. (Dkt. 80 at 17:8–10 (“[C]ourts are willing to imply a negative
  8   covenant: where the licensor provided the licensee with confidential technical
  9   information or know-how along with the patent license.”) (emphasis in original).)
 10   Thus, MACOM’s sole argument on likelihood of success rests on its contention that
 11   the Court should not imply a negative covenant in this case.
 12         Although MACOM previously admitted that the parties’ License Agreement
 13   includes an implied covenant of good faith and fair dealing under California law
 14   (Dkt. 65 at ¶ 202; Dkt. 80-1, Ex. C at § 10.9), MACOM wholly fails to address
 15   whether MACOM’s exceeding the scope of its patent license constitutes a breach of
 16   that implied covenant of good faith and fair dealing.       As explained below, a
 17   contract under California law always includes a covenant of good faith and fair
 18   dealing, and MACOM’s conduct breached that covenant.
 19         Furthermore, even if the License Agreement did not include a covenant of
 20   good faith and fair dealing, this case presents the very type of factual situation in
 21   which courts, without recognizing a covenant of good faith and fair dealing, have
 22   implied a negative covenant not to exceed the scope of a patent license.
 23         A.    Breach of contract is a remedy available to patent owners for
                  licensees that exceed the scope of their license.
 24
            A violation of a patent license agreement “entitles the patentee to a remedy
 25
      for either patent infringement or breach of contract.” B. Braun Med. Inc. v. Abbott
 26
      Labs., 124 F.3d 1419, 1426 (Fed. Cir. 1997) (emphasis added); see also
 27
      Mallinckrodt, Inc. v. Medipart, Inc., 976 F.2d 700, 707 n.6 (Fed. Cir. 1992)
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  1   (holding that “the remedy for breach of a binding license provision is not
  2   exclusively in contract” and that “a patentee may choose among alternate
  3   remedies”); Ex. 5, Nimmer & Dodd, Modern Licensing Law, § 11:27 (2015) (“As a
  4   matter of contract law, conduct that exceeds a limitation in the contract ordinarily
  5   breaches the contract.    In effect, the express agreed limitation incorporates a
  6   promise by the party to act within the terms of the limitation; failure to do so sets
  7   out the basis for an action for contract breach.”).4 And, as explained below, the
  8   2010 License Agreement includes a covenant of good faith and fair dealing under
  9   California law, which provides a right to an action for breach. Congleton v. Nat’l
 10   Union Fire Ins. Co., 189 Cal. App. 3d 51, 59 (Ct. App. 1987).
 11         B.     MACOM breached the 2010 License Agreement’s covenant of
                   good faith and fair dealing.
 12
            MACOM admits that the 2010 License Agreement, which is governed by
 13
      California law, includes an implied covenant of good faith and fair dealing. (Dkt.
 14
      65 at ¶ 202; Dkt. 80-1, Ex. C at § 10.9.) And under California law, all contracts
 15
      contain an implied covenant of good faith and fair dealing, which requires each
 16
      party to refrain from doing anything to injure the right of the other party to receive
 17
      the benefits of the agreement. San Jose Prod. Credit Ass’n v. Old Republic Life
 18
      Ins. Co., 723 F.2d 700, 703 (9th Cir. 1984) (citing Egan v. Mutual of Omaha
 19
      Insurance Company, 24 Cal. 3d 809, 818 (1979)). Implied covenants of good faith
 20
      and fair dealing exist in every contract, even when, as here, the contract has an
 21
      express integration clause. See Thrifty Payless, Inc. v. Americana at Brand, LLC.,
 22
      218 Cal. App. 4th 1230, 1244 (2013) (reversing a demurrer on a breach of an
 23
 24
            4
               Cases cited by MACOM merely state that a patent infringement suit is
 25   available—not that breach of contract is foreclosed. See Gen. Talking Pictures
      Corp. v. W. Elec. Co., 305 U.S. 124, 126 (1938) (considering restricted sales and
 26   finding the sales were not ever subject to a license); JVC Kenwood Corp. v. Arcsoft,
      Inc., 966 F. Supp. 2d 1003, 1010–11 (C.D. Cal. 2013) (noting “patent infringement
 27   remedy is available”), aff'd in part, vacated in part sub nom. JVC Kenwood Corp. v.
      Nero, Inc., 797 F.3d 1039 (Fed. Cir. 2015).
 28
                                                7
                                                      DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
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  1   implied covenant of good faith and fair dealing in a contract with an integration
  2   clause). The parties agree, and the law supports, the fact that the 2010 License
  3   Agreement includes a covenant of good faith and fair dealing.
  4         The covenant of good faith and fair dealing prohibits MACOM from selling
  5   products outside the scope of the license. In the only case that appears to have
  6   directly addressed the issue, the Supreme Court of Vermont found a breach of the
  7   implied covenant of good faith and fair dealing when the licensee exceeded the
  8   scope of a patent license. See Shaw v. E.I. DuPont De Nemours & Co., 126 Vt. 206
  9   (1966). The patent at issue covered broom filaments, and the licensee had a license
 10   for filaments with a maximum cross-section of five millimeters. Id. at 208. After
 11   the licensee made filaments exceeding that size, the patentee sued the licensee for
 12   breach of contract. Id. The Supreme Court of Vermont affirmed a finding of
 13   breach, explaining that the implied covenant of good faith and fair dealing applies
 14   to every contract, including patent license agreements. Id. at 209. The court
 15   examined copyright licenses where the implied covenant of good faith and fair
 16   dealing prohibits a licensee from doing anything to violate the license or the
 17   copyright upon which the license is granted. Id. Drawing on that reasoning, the
 18   court held that when a patent license is restricted to a particular technology, the
 19   covenant of good faith and fair dealing applies to the effect “that the licensee will
 20   not invade the ungranted part of the patent to the detriment of the estate reserved by
 21   the licensor.” Id. The covenant of good faith and fair dealing prevents a licensee
 22   from exceeding the scope of its license and invading rights reserved by the licensor.
 23         Although its appears that California courts have not addressed the particular
 24   issue of the covenant of good faith and fair dealing                                 ,
 25   California law supports finding that exceeding the scope of a patent license is a
 26   breach of that covenant. See Wilson v. 21st Century Ins. Co., 42 Cal. 4th 713, 720
 27   (2007) (“The implied promise requires each contracting party to refrain from doing
 28   anything to injure the right of the other to receive the agreement’s benefits.”).
                                              8
                                                      DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
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  1   Moreover, in the analogous realm of copyright law (the area of law on which the
  2   Shaw court relied), courts have recognized that contracts include an implied
  3   promise that the parties will not do anything to damage the rights of the other party.
  4   See Cty. of Ventura v. Blackburn, 362 F.2d 515, 518–22 (9th Cir. 1966).
  5         Various cases cited by MACOM are distinguishable because they do not
  6   address the implied covenant of good faith and fair dealing. For example, the
  7   Indiana court in Eli Lilly and Co. v. Genentech, Inc.5 did not recognize a covenant
  8   of good faith and fair dealing as Indiana law does not impose the duty. See, e.g.,
  9   First Fed. Savings Bank of Ind. v. Key Mkts., Inc., 559 N.E.2d 600, 605 (Ind. 1990)
 10   (“The court found that Indiana law does not impose a duty of good faith and fair
 11   dealing in the performance and enforcement of the [contract].” (citing Ford Motor
 12   Credit Co. v. Garner, 688 F. Supp. 435 (N.D. Ind. 1988)). Similarly, the courts in
 13   Lanova Corp. v. Atlas Imperial Diesel Engine Co.6, B & J Mfg. Co. v. Hennessy
 14   Indus., Inc.7, and Burlington Indus., Inc. v. Solutia, Inc.8 did not expressly consider
 15   whether there was a breach based on an implied covenant of good faith and fair
 16   dealing. The consideration of the implied covenant of good faith and fair dealing
 17   under the governing law of California mandates a different analysis.
 18         MACOM has failed to meet its burden to prove a likelihood of success on the
 19   merits of its improper termination claim. See Ex. 5, Nimmer & Dodd, Modern
 20   Licensing Law, § 11.27 (2015) (“At minimum, standards of good faith indicate that
 21         5
             Nos. IP 87-219-C, IP 88-1463-C, 1990 WL 305392, at *2 (S.D. Ind. July
      17, 1990).
 22
            6
                5 Terry 55, 62–63 (Del. 1947).
 23
            7
                No. 73 C 2174, 1976 WL 21072, at *3 (N.D. Ill. Oct. 19, 1976).
 24
            8
             Burlington Indus., Inc. v. Solutia, Inc., 256 F. Supp. 2d 433, 435 (M.D.N.C.
 25   2003), vacated and remanded, 310 F. Appx. 5
                                                  ied on
 26                                                  (Dkt.
                                                  on provision
 27                e created by the license executed by the
                    Burlington Indus., Inc., 310 Fed. Appx. a
 28
                                                 9
                                                      DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
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  1   going beyond a contract for limitation breaches the contract.”). It is undisputed, for
  2   the purposes of its preliminary injunction motion, that MACOM has sold infringing
  3   products outside the scope of its license. As such, MACOM cannot meet its burden
  4   to show a likelihood of success in proving that it did not breach the covenant of
  5   good faith and fair dealing in the 2010 License Agreement.
  6         C.     MACOM breached an implied negative covenant not to exceed the
                   scope of its license in the 2010 License Agreement.
  7
            In addition to violating the covenant of good faith and fair dealing by its
  8
      actions, MACOM breached an implied negative covenant not to exceed the scope
  9
      of its license in the 2010 License Agreement.
 10
                    and an ordinary commercial expectation was that Nitronex would not
 11
      exceed that license. See Ex. 6, Nimmer & Dodd, Modern Licensing Law, § 11:3
 12
      (2015) (“A license that allows certain conduct in return for consideration from the
 13
      licensee for the right to engage in that conduct, when accepted by the licensee, also
 14
      entails an agreement by the licensee that it will provide the consideration and will
 15
      not engage in conduct outside the terms of the license. . . . As a matter of contract
 16
      law and commercial practice, this approach accurately reflects ordinary commercial
 17
      expectations and thus provides a rule that avoids traps based on an inadvertent
 18
      failure to include what many would regard as unnecessary contractual language.”).
 19
      Even if California law did not include an implied covenant of good faith and fair
 20
      dealing in every contract, the specific facts regarding the transaction and
 21
      relationship of the parties here support finding an implied negative covenant not to
 22
      exceed the scope of the license in the 2010 License Agreement.
 23
            The parties had “a close and collaborative research relationship” in which
 24
      both sides obtained from one another “a vast quantity of technical information, both
 25
      public and confidential, only some of which might be protected by patent law.” See
 26
      Eli Lilly and Co. v. Emisphere Tech., 408 F. Supp. 2d 668, 688–689 (S.D. Ind.
 27
      2006) (“Here the licensor has granted more than a mere forbearance from suit. He
 28
                                               10
                                                      DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
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  1   has actually delivered a package of valuable information to the licensee. Should the
  2   licensee exceed the terms of the grant, the sole appropriate remedy is a suit for
  3   breach of contract based on an implied covenant not to do so.” (quoting Einhorn,
  4   Patent Licensing Transactions § 1.03[4] (2004))); Monsanto Co. v. E.I. DuPont De
  5   Nemours and Co., No. 4:09-cv-686, 2010 WL 234951, at *10 (E.D. Mo. Jan. 15,
  6   2010) (stating that the “agreements involve the presence of the two factors that have
  7   led courts and commentators to find implied negative covenants: a restriction on the
  8   field of use . . . and a grant of technical information”), order vacated-in-part on
  9   reconsid., 2010 WL 3039210 (E.D. Mo. July 30, 2010) (holding that “a more
 10   developed factual record” was necessary to determine whether there was a breach
 11   of an implied negative covenant).
 12         For example, the parties’ 2004 agreements
 13
 14                                   On the same day that the parties executed their 2004
 15   License Agreement (Dkt. 80-1, Ex. A), the parties also executed a Technology
 16   Transfer Agreement (Ex. 1).
 17
 18
 19
 20
 21
 22
 23
 24         Similarly, the parties’ 2010 agreements establish that the parties had an on-
 25   going relationship and that the parties’ agreement amounted to significantly more
 26   than a naked patent license. See Monsanto Co., 2010 WL 234951, at *9 (“More
 27   recent authority suggests that the relevant inquiry in determining whether ‘the
 28   nature of the restriction’ suggests an implied negative covenant is whether the
                                              11
                                                     DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
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  1   contract merely represents the licensor’s promise not to sue for infringement in
  2   exchange for the payment of royalties, or whether the licensor has taken on
  3   additional contractual obligations to assist the licensee in its use of the licensed
  4   technology.”).
  5
  6
  7
  8
  9
 10
 11
 12
 13
 14
                                                              9
 15
 16         Because Infineon Americas provided technology (beyond patents) to
 17   Nitronex as part of the 2004 transactions and the 2010 transactions, it is proper to
 18   imply a negative covenant even under MACOM’s reading of the cases. Certainly,
 19   the relationship between the parties goes far beyond merely representing “the
 20   licensor’s promise not to sue.” Monsanto Co., 2010 WL 234951, at *9. Thus,
 21   MACOM has failed to meet its burden to prove a likelihood of success on the
 22   merits of its improper termination claim based on the implied negative covenant in
 23   the 2010 License Agreement.
 24
            9
 25
 26
 27
 28
                                              12
                                                     DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
                                                       MOTION FOR PRELIMINARY INJUNCTION
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  1         D.     MACOM cannot show a likelihood of success on its third claim for
                   relief on this limited factual record.
  2
            Although MACOM characterizes the implied negative covenant issues as
  3
      “entirely legal” (Dkt 85 at 11:9), under MACOM’s interpretation of the case law,
  4
      that issue can be determined only on a more developed factual record.              See
  5
      Monsanto Co., No. 4:09-cv-686, 2010 WL 3039210, at *5 (holding that “a more
  6
      developed factual record” was necessary to determine whether there was a breach
  7
      of an implied negative covenant); see also Alling v. Universal Mfg. Corp., 5 Cal.
  8
      App. 4th 1412, 1434–35 (1992); see also Cal. Code Civ. Proc., § 1860 (“For the
  9
      proper construction of an instrument, the circumstances under which it was made,
 10
      including the situation of the subject of the instrument, and of the parties to it, may
 11
      also be shown, so that the Judge be placed in the position of those whose language
 12
      he is to interpret.”). The parties have yet to take any discovery. Based on the
 13
      current record, MACOM cannot show a likelihood of success on the merits, so as to
 14
      be entitled to a preliminary injunction.
 15
      II.   MACOM has not shown irreparable harm based on its third claim for
 16         relief.
 17         MACOM first tries to avoid its burden of proof by arguing wrongly that
 18                                                                                    Next,
 19   MACOM erroneously contends the termination of its exclusive patent license
 20   constitutes per se irreparable harm. When MACOM finally addresses an alleged
 21   actual harm, MACOM relies on alleged business losses that are tied to a different
 22   claim for relief (its second claim for relief), and even then, its allegations are not
 23   supported by admissible evidence.
 24         A.
 25
 26
 27
      MACOM’s argument fails on two independent grounds.
 28
                                                 13
                                                      DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
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 12
 13         Second,                                                , MACOM must still
 14   prove irreparable harm.    Under the governing law, reliance on a contractual
 15   provision alone does not suffice.     Inspection Mgmt. Sys., Inc. v. Open Door
 16   Inspections, Inc., No. 209-CV-00023, 2009 WL 805813, at *4 (E.D. Cal. Mar. 26,
 17   2009) (“Plaintiff cannot rely on the contractual clauses of the . . . [agreement] to
 18   show irreparable harm. Instead, the court must make an independent determination
 19   of whether such harm is present.”); see also Int’l Ass’n of Plumbing & Mech.
 20   Officials v. Int’l Conference of Bldg. Officials, 79 F.3d 1153 (9th Cir. 1996)
 21   (unpublished table decision) (reversing a finding of irreparable harm for lack of
 22   evidence based on a contractual provision whereby the two parties conceded that
 23   one “would suffer irreparable injury in the event of a contract breach” (emphasis
 24   added)); La Jolla Cove Inv’rs, Inc. v. GoConnect Ltd., No. 11CV1907, 2012 WL
 25         10


 26                    harm would occur. USA Techs., Inc. v. Tirpak, No. CIV.A. 12-
      2399, 2012 WL 1889157, at *5–6 (E.D. Pa. May 24, 2012) (analyzing a contract
 27   stating “irreparable injury to the other party hereto would occur in the event of
      [breach]”) (emphasis added).
 28
                                              14
                                                     DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
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  1   1580995, at *4 (S.D. Cal. May 4, 2012) (holding that the plaintiff “must actually
  2   demonstrate a likelihood of irreparable harm; pointing to a contractual concession is
  3   insufficient”).
  4
  5         B.     Termination of an exclusive license is not per se irreparable harm.
  6         Contrary to MACOM’s suggestion, there is no per se rule that threatened loss
  7   of an exclusive license constitutes irreparable harm. Dominion Video Satellite, Inc.
  8   v. Echostar Satellite Corp., 356 F.3d 1256, 1263 (10th Cir. 2004) (collecting cases
  9   to support the proposition that “[c]ourts finding irreparable harm from breaches of
 10   exclusivity provisions have not rested their determinations solely on the existence
 11   and subsequent breaches of the exclusivity provisions.”). In fact, courts routinely
 12   find no irreparable harm from termination of an exclusive license. See, e.g., Mon
 13   Cheri Bridals, LLC v. Bowls, No. CIV.A. 14-8107 MAS, 2015 WL 1383948, at *2,
 14   4–5 (D.N.J. Mar. 25, 2015) (denying preliminary injunction based in part on
 15   finding of no irreparable harm after defendant terminated the exclusive license
 16   agreement); ET Trading, Ltd v. ClearPlex Direct, LLC, No. 15-CV-00426-LHK,
 17   2015 WL 913911, at *3 (N.D. Cal. Mar. 2, 2015) (finding no irreparable harm from
 18   Defendant’s alleged breach of the exclusive license agreement).
 19         The cases cited by MACOM simply do not support its bald assertion that the
 20   loss of an exclusive license is per se irreparable harm. For example, two of the
 21   cases Plaintiffs cite, Innersvingen AS v. Sports Hoop, Inc. and Pac. Rollforming,
 22   LLC v. Trakloc Int’l, fundamentally rely on repudiated precedent.11 Similarly, the
 23
            11
               In Innersvingen, the court stated that “irreparable injury may be presumed
 24   in cases of trademark infringement.” No. CV12-5257, 2012 WL 3048363, at *2
      (C.D. Cal. July 26, 2012). The Ninth Circuit has since made clear that such a
 25   presumption is reversible error. Herb Reed Enters., LLC v. Fla. Entm’t Mgmt., Inc.,
      736 F.3d 1239, 1249 (9th Cir. 2013) (reversing entry of a preliminary injunction
 26   because “actual irreparable harm must be demonstrated to obtain a permanent
      injunction in a trademark infringement action” based on eBay Inc. v.
 27   MercExchange, L.L.C., 547 U.S. 388 (2006)). Similarly, in Pacific Rollforming,
      the court required a mere “possibility” of irreparable harm. No. CIV. 07CV1897,
 28   2007 WL 3333122, at *3 (S.D. Cal. Nov. 7, 2007). The Supreme Court has since
                                               15
                                                     DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
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  1   opinions in Ferry-Morse Seed Co. v. Food Corn, Inc.12 and Nano-Proprietary, Inc.
  2   v. Keesmann13 do not stand for the proposition that the loss of an exclusive license
  3   constitutes irreparable harm. See Dominion Video Satellite, Inc., 356 F.3d at 1263
  4   (citing Ferry-Morse Seed Co. as an example of a court not relying “solely on the
  5   existence and subsequent breaches of the exclusivity provisions” for its finding of
  6   irreparable harm).    Instead, courts “have identified the following as factors
  7   supporting irreparable harm determinations: inability to calculate damages, harm to
  8   goodwill, diminishment of competitive positions in marketplace, loss of employees’
  9   unique services, the impact of state law, and lost opportunities to distribute unique
 10   products.” Id. at 1263.
 11         Finally, the last case MACOM cites in support of its assertion is factually
 12   distinguishable.   In Fairchild Semiconductor Corp. v. Third Dimension (3D)
 13   Semiconductor, Inc., the court found irreparable harm based in part on the
 14   defendant’s threat to terminate a non-exclusive license and grant an exclusive
 15   license to a third party. 594 F. Supp. 2d 97, 110 (D. Me. 2009). In contrast, here,
 16   except for hearsay alleged by Plaintiffs, there is zero evidence that any party
 17   (including Defendants) is planning to enter the market. See Boardman v. Pac.
 18   Seafood Grp., 822 F.3d 1011, 1022 (9th Cir. 2016) (“[S]peculative injury does not
 19   constitute irreparable injury sufficient to warrant granting a preliminary
 20   injunction.”).
 21
 22   overruled the Ninth Circuit precedent permitting such a “lenient” standard. Winter
      v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008) (expressly overruling the
 23   Ninth Circuit’s “possibility” standard because it is “too lenient”).
 24         12
               729 F.2d 589, 591 (affirming a finding of irreparable harm where the
      company was disadvantaged in the competitive market by its inability to market
 25   unique seed corn).
 26         13
               No. 06 C 2689, 2007 WL 433100, at *7 (N.D. Ill. Jan. 30, 2007) (finding
      irreparable harm based on the defendant’s likelihood of selling the patents at issue
 27   and speculative damages with no express reliance on exclusivity of a license
      agreement).
 28
                                               16
                                                     DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
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  1   the posture of this case is completely different from that described in Fairchild
  2   Semiconductor Corp.
  3         In summary, there simply is no support for MACOM’s assertion that the loss
  4   of an exclusive license itself constitutes irreparable harm.
  5         C.     MACOM’s allegations regarding loss of business do not support
                   an injunction on its third claim for relief.
  6
                   1.     MACOM’s allegations regarding loss of business are based
  7                       on the wrong claim for relief.
  8         MACOM alleges that, absent an injunction, it will lose business. (Dkt. 80 at
  9   20:8–24:19.) But MACOM’s allegations are not tied to its third claim for relief on
 10   termination of the License Agreement. Lacking any irreparable harm flowing from
 11   Infineon Americas’ termination, MACOM improperly shifts to an entirely different
 12   claim for relief (its second claim for relief) to argue loss of business. MACOM
 13   contends that it will be irreparably harmed if, as MACOM alleges in its second
 14   claim for relief, Defendants market GaN-on-Si RF products
 15                                     (Dkt. 80 at 18–24 (relying on MACOM’s breach
 16   allegations in Dkt. 65 at ¶¶ 184, 203, 239).)14 Because MACOM’s alleged business
 17   losses purportedly will arise from the conduct that is the subject of MACOM’s
 18   second claim for relief as opposed to its third claim, those alleged business losses
 19   do not support an injunction on MACOM’s third claim for relief.
 20         MACOM does not even try to show any loss of business based on its second
 21   claim for relief on termination of the License Agreement. MACOM does not
 22   present evidence that its customers even know about the termination of the License
 23   Agreement, much less that
 24
 25         14
               See 20:17–19 (“If Infineon . . . begins to promote or sell GaN-on-Si
      products”); 21:2 (“If Infineon enters the [GaN-on-Si] market”); 21:21 (“if Infineon
 26   enters the [GaN-on-Si] market”); 22:2
 27
                                                                 Si”).
 28
                                                17
                                                       DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
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  1   would affect customer’s purchasing decisions.       In fact, MACOM presents no
  2   admissible evidence that customers even care about a patent license in making
  3   purchasing decisions.    There is no foundation for MACOM to know why its
  4   customers make their purchasing decisions.
  5                2.    Even if MACOM were allowed to rely on another claim for
                         relief (its second claim for relief), MACOM does not present
  6                      sufficient evidence in support of its allegations regarding loss
                         of business.
  7
            MACOM fails to present sufficient evidence in support of its allegations
  8
      regarding loss of business. First, MACOM cannot show that Defendants are even
  9
      marketing GaN-on-Si RF products as MACOM alleges. Moreover, MACOM has
 10
      not even tried to show that the alleged activities by Defendants would
 11
                                                                     be prohibited by
 12
                              MACOM’s proposed injunction. In addition, MACOM’s
 13
      evidence is insufficient to show that any loss of business is imminent or severe.
 14
 15                      a)     MACOM cannot show that Infineon Americas has
                                marketed GaN-on-Si RF products as MACOM alleges.
 16         Although MACOM alleges that Infineon Americas has marketed GaN-on-Si
 17   RF products, MACOM does not have sufficient evidence to support that allegation.
 18   MACOM’s only evidence is triple hearsay—a declaration by MACOM’s head of
 19   sales in Asia describing a conversation with a staff member about a separate
 20   conversation that the staff member allegedly had with a customer about a separate
 21   conversation that the customer allegedly had with an employee of some
 22   unidentified Infineon affiliate.15 See Chemical Engineering Corp. v. Marlo, Inc.,
 23   754 F.2d 331, 334 (Fed. Cir. 1984) (“It is inconceivable that [plaintiff] and its
 24
 25         15
               MACOM also relies on an Infineon AG investor presentation. (Dkt. 80 at
      11:9–16 (citing Ex. J).) But that presentation describes, at most, a plan to possibly
 26   develop GaN-on-Si product at some point in the future for 5G. Dkt. 73-2, Ex. J at 9
      and 10 (stating that the GaN-on-Si product is for future 5G applications). MACOM
 27   admits that this 5G design cycle is not for two to three years. (Dkt. 80 at 23:4–8
      (citing Virk Decl. ¶¶ 43–45).)
 28
                                               18
                                                      DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
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  1   counsel could have entertained the belief that, on the basis of the mere rumor,
  2   devoid of facts and evidence, presented to the trial court, an injunction could
  3   issue . . . .”) (ordering the exclusive licensee to pay costs and fees for appeal).
  4
  5
  6
  7                      b)        MACOM has not even tried to
  8
  9
            MACOM contends the alleged business losses would result from
 10
      Defendants’ “developing, marketing, and selling GaN-on-Si RF base station
 11
      products.” (Dkt. 80 at 20:9–15.) MACOM, however, has not even tried to show
 12
      that the alleged activities would constitute a violation of MACOM’s exclusive
 13
      patent license and thus be prohibited by MACOM’s proposed injunction.                 As
 14
      Infineon Americas explained in its motion to dismiss, MACOM must show that
 15
      Infineon Americas is both practicing a licensed patent
 16
      (Dkt. 97 at 6:19–7:16) and that the alleged conduct on which it relies (e.g.,
 17
      promising to deliver a customer a sample at some future date)
 18
                                                                            (Dkt. 97 at 6:4–
 19
      10:19).16   But, MACOM has not alleged—much less shown—a likelihood of
 20
      success in proving either.
 21
            MACOM presents no argument or evidence that the alleged GaN-on-Si RF
 22
      base station products                          practice any licensed patent or that
 23
      Infineon Americas has engaged in any conduct covered by the patents
 24
                                                      MACOM has not even tried to show
 25
      that the alleged GaN-on-Si RF products                         meet a single claim of
 26
            16
 27
 28
                                                19
                                                      DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
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  1   any licensed patent. MACOM does not mention a patent or the location of the
  2   conduct allegedly infringing that patent.     Because each patent only applies to
  3   activities in a specific country, MACOM simply cannot show
  4                                          without evidence of the patent allegedly
  5   infringed and the location of Defendant’s alleged activities.17 (Dkt. 97 at 10:20–
  6   11:13.) Because it cannot meet this element of proof, MACOM contends that it is
  7   not required to prove infringement. (Dkt. 80 at 23:16–20.) MACOM, however,
  8   cannot be entitled to “an injunction prohibiting Infineon
  9                               (Dkt. 80 at 23:21–22) without showing a likelihood of
 10   success in proving that Defendants have                                            —
 11   which requires showing that Infineon Americas has practiced a licensed patent
 12
 13                      c)    MACOM’s evidence is insufficient to show that any
                               loss of business is imminent or severe.
 14
            Moreover, MACOM’s evidence is insufficient to show that any loss of
 15
      business is imminent or severe. See Boardman v. Pac. Seafood Grp., 822 F.3d
 16
      1011, 1022 (9th Cir. 2016) (“[A] plaintiff must demonstrate immediate threatened
 17
      injury as a prerequisite to preliminary injunctive relief.”). MACOM contends that
 18
      the “key window” for the current 4G/LTE base station design cycle is in the second
 19
      half of 2016 and
 20
 21
                                                                                 (Dkt. 80 at
 22
      23:4–9 (citing Virk Dec. at ¶¶ 43–44).) But MACOM cannot show that Defendants
 23
      are poised to enter the 4G/LTE design cycle with GaN-on-Si RF base station
 24
      products.
 25
 26         17
                 MACOM is silen
 27
                                                  Asia (Xiong Decl. at ¶ 3)).)
 28
                                              20
                                                      DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
                                                        MOTION FOR PRELIMINARY INJUNCTION
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  1
  2                                               MACOM’s evidence to the contrary is an
  3   unreliable triple hearsay report and an investor presentation describing, at most, a
  4   possible plan to develop GaN-on-Si for 5G at some point in the future.18 MACOM
  5   has thus failed to show any imminent or severe harm that will occur absent its
  6   proposed injunction.
  7   III.   MACOM’s proposed injunction order is improper as a matter of law.
  8          A.    MACOM’s proposed order is not limited to its third claim for
                   relief.
  9
             MACOM moves solely on its third claim for relief, which seeks a declaratory
 10
      judgment that the 2010 License Agreement is not terminated. (Dkt. 80 at 1:2-5,
 11
      13:18.) But MACOM’s vague proposed injunction sweeps much more broadly. In
 12
      the proposed injunction, MACOM seeks to enjoin Defendants not from terminating
 13
      the License Agreement, but rather from breaching the License Agreement:
 14
      “[Defendants] are hereby enjoined from taking any action inconsistent with that
 15
      License Agreement.”      (Dkt. No. 73, Proposed Order.).       MACOM improperly
 16
      presents its third claim for relief on termination as a Trojan horse—a veiled attempt
 17
      to obtain an overbroad preliminary injunction against all possible breaches of the
 18
      License Agreement, without satisfying the burden of proof required to obtain an
 19
      injunction on any of its allegations for breach of contract.
 20
             MACOM did not even attempt to meet its burden of proof to show that it is
 21
      entitled to the broad injunction in its proposed order. MACOM’s proposed order
 22
      would arguably encompass at least MACOM’s first, second, and fourth claims for
 23
      relief, and more.    Those claims for relief allege various acts that purportedly
 24
      constitute breach, such as marketing GaN-on-Si RF products that practice the
 25
      licensed patents                                       (Dkt. 65 at ¶¶ 184, 203, 239),
 26
 27          18
              MACOM admits that this 5G design cycle will not begin for two to three
      more years. (Dkt. 80 at 23:4–8 (citing Virk Decl. ¶¶ 43–45).)
 28
                                                21
                                                       DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
                                                         MOTION FOR PRELIMINARY INJUNCTION
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  1                                                           (Dkt. 65 at ¶¶ 204),
  2                                  (Dkt. 65 at ¶¶ 240),
  3                              (Dkt. 65 at ¶¶ 204, 222), and
  4                   (Dkt. 65 at ¶¶ 227, 228). MACOM has not even tried to satisfy the
  5   elements of proof necessary to obtain an injunction for any of those claims.19 For
  6   that reason, MACOM has not asked and cannot ask for an injunction tailored to
  7   prevent that specific alleged conduct.          Nevertheless, MACOM’s proposed
  8   injunction would arguably encompass all that conduct, and more.
  9         B.     MACOM’s proposed order fundamentally fails to satisfy the
                   specificity required by law
 10
            MACOM’s proposed order also fundamentally fails to satisfy the specificity
 11
      required by law. Rule 65(d) requires that any injunction be “specific in terms” and
 12
      describe “in reasonable detail, and not by reference to the complaint or other
 13
      document, the act or acts sought to be restrained.” Fed.R.Civ.P. 65(d); see Schmidt
 14
      v. Lessard, 414 U.S. 473, 476 (1974) (“[T]he specificity provisions of Rule 65(d)
 15
      are no mere technical requirements. The Rule was designed to prevent uncertainty
 16
      and confusion on the part of those faced with injunctive orders, and to avoid the
 17
      possible founding of a contempt citation on a decree too vague to be understood.”).
 18
      Similarly, California law requires “contractual terms which are sufficiently definite
 19
      to enable the court to know what it is to enforce.” Int’l Medcom, Inc., 2015 WL
 20
      7753267, at *2.      For these reasons, the lack of specificity in the scope of
 21
      MACOM’s request for relief is fatal. See Reno Air Racing Ass’n., Inc. v. McCord,
 22
      452 F.3d 1126, 1132 (9th Cir. 2006) (“If an injunction does not clearly describe
 23
      prohibited or required conduct, it is not enforceable . . . .”) (quoting Gates v. Shinn,
 24
      98 F.3d 463, 468 (9th Cir. 1996)).
 25
 26
 27         19
               For example, MACOM has not even tried to show a likelihood of success
      as to those various breach of contract claims.
 28
                                                22
                                                       DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
                                                         MOTION FOR PRELIMINARY INJUNCTION
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  1         MACOM’s proposed injunction violates Rule 65(b) because it refers to
  2   another document (the License Agreement). See also Los Angeles Trust Deed &
  3   Mortgage Exch. v. Sec. & Exch. Comm’n, 264 F.2d 199, 205 (9th Cir. 1959)
  4   (preliminary injunction violated FRCP 65(d) because it referenced the complaint).
  5         Moreover, it also fails to specify the exact conduct that is being enjoined.
  6   MACOM’s injunction would prohibit Defendants “from taking any action
  7   inconsistent with that License Agreement,” but the proposed order does not provide
  8   notice of what specific conduct is inconsistent with the License Agreement.20 (Dkt.
  9   No. 73, Proposed Order (emphases added).) Nothing would prevent MACOM from
 10   moving for contempt proceedings based on any of MACOM’s various allegations
 11   of breach. It is because the contempt power is such a “potent weapon,” that Rule
 12   65(d) requires specificity to provide parties notice of what specific conduct is
 13   enjoined. Int’l Longshoremen’s Ass’n. v. Philadelphia Marine Trade Ass’n, 389
 14   U.S. 64, 76 (1967).
 15         Even if MACOM had shown that it is entitled to an injunction on its third
 16   claim for relief (the only claim on which MACOM has moved), that injunction
 17   would need to be narrowly tailored to that third claim for relief. First, as explained
 18   above, the third claim for relief is for improper termination of the License
 19   Agreement—not breach of the License Agreement. But, even as to termination,
 20   Infineon Americas could not be enjoined from generally terminating the agreement.
 21   For example, some future improper conduct by MACOM may justify termination
 22   of the agreement. Thus, even if the Court were inclined to issue an injunction on
 23         20
               Although MACOM’s                                        fers to “development,
      marketing, or sales activities                                    ” this language does
 24   not limit the scope of the injun                                 Order (“including but
      not limited to”).) Moreover, this language also lacks specificity because it does not
 25   identify the specific product found to violate MACOM’s exclusive patent license.
      In the patent context, the Federal Circuit has held that an injunction must be limited
 26   to the specific device found to infringe. International Rectifier Corp. v. IXYS
      Corp., 383 F.3d 1312, 1316–17 (Fed. Cir. 2004). Thus, here, the injunction
 27                                         to practice the licensed patents and thus
 28
                                               23
                                                      DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
                                                        MOTION FOR PRELIMINARY INJUNCTION
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  1   MACOM’s third claim for relief, that injunction should, at most, enjoin Infineon
  2   Americas from terminating the 2010 License Agreement based on MACOM’s sales
  3   of GaN-on-SiC products outside the scope of its patent license. For the reasons
  4   stated above, MACOM is not entitled to that injunction.
  5   IV.    The balance of hardships and public interest factors weigh against any
             injunction.
  6
             A.       The balance of hardships weighs in Defendants’ favor.
  7
             The balance of hardships weighs in favor of Defendants at least because
  8
      MACOM’s requested relief is vague and overbroad. MACOM’s proposed order
  9
      would prevent Defendants “from taking any action inconsistent with” the 2010
 10
      License Agreement. This injunction represents an extraordinary hardship because
 11
      MACOM has alleged several claims for breach of contract. MACOM failed to
 12
      address those claims in the likelihood-of-success section of its motion        Thus,
 13
      MACOM’s injunction would impose on Defendants an unfair risk of contempt
 14
      based on several outstanding contract disputes that have not even been presented to
 15
      the Court, much less resolved.
 16
 17          B.       The public interest factor does not support an injunction.

 18          As explained above, MACOM’s vague and overbroad injunction would

 19   greatly restrict Defendants’ freedom to operate and thus would adversely affect the

 20   public’s interest in encouraging competition. MedSpring Grp., Inc. v. Feng, 368 F.

 21   Supp. 2d 1270, 1280 (D. Utah 2005) (“[T]he Court finds that the issuance of a

 22   preliminary injunction in this case would adversely affect the public interest in

 23   encouraging competition.”); Dellwood Foods, Inc. v. Kraftco Corp., 420 F. Supp.

 24   424, 428 (S.D.N.Y. 1976) (“Since competition is generally held to benefit the

 25   public, any reduction in competition must be considered against the public

 26   interest”).21

 27          21
               Contrary to MACOM’s argument, there is no public interest that favors
      enforcing private agreements. In fact, “‘[w]hen the reach of the injunction is
 28   narrow, limited only to the parties, and has no impact on non-parties, the public
                                              24
                                                      DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
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  1   V.    MACOM is not entitled to any injunction against Infineon AG.
  2         A.     MACOM has              not   established   personal    jurisdiction   over
                   Infineon AG.
  3
            As explained in Infineon AG’s motion to dismiss, MACOM cannot establish
  4
      personal jurisdiction over Infineon AG. (Dkt. 99 at Sections I, II.A, III.A, and
  5
      IV.A.) Because MACOM cannot establish personal jurisdiction over Infineon AG,
  6
      the Court cannot enter any injunction against Infineon AG. Celgard, LLC v. LG
  7
      Chem, Ltd., 624 F. App’x 748, 751 (Fed. Cir. 2015) (unpublished) (A “district court
  8
      cannot enjoin a party if it does not have jurisdiction over that party.”).
  9
            B.     Infineon AG is not a party to the 2010 License Agreement that
 10                forms the basis of MACOM’s injunction request.
 11         Also as explained in Infineon AG’s motion to dismiss, Infineon AG is not
 12   even a party to the agreements at issue.22 (Dkt 99 at 11:15–17 (citing Pelzer Decl.
 13   at ¶¶ 7–9; LeFort Decl. at ¶ 6).) On that basis alone, Infineon AG cannot be
 14   enjoined not to breach the License Agreement or not to terminate the License
 15   Agreement. (Dkt 99 at 12:12–25; see also Sci. Weight Loss, LLC v. U.S. Med. Care
 16   Holdings, LLC, No. CV 08-2852, 2008 WL 4691028, *3 (C.D. Cal. Oct. 22, 2008)
 17   (stating the “Defendants are not parties to the underlying contracts . . . . Therefore,
 18   Plaintiffs may not rely on a breach of contract theory to obtain [an injunction]
 19   against the [] Defendants.”).)
 20                                        CONCLUSION
 21         For the foregoing reasons, MACOM’s motion for preliminary injunction
 22   should be denied in its entirety.
 23
 24   interest will be at most a neutral factor in the analysis rather than one that favor[s]
      [granting or] denying the preliminary injunction.’” Pom Wonderful LLC v. Pur
 25   Beverages LLC, No. CV1306917, 2015 WL 10433693, at *4 (C.D. Cal. Aug. 6,
      2015) 22
             (citing Stormans, Inc. v. Selecky, 586 F.3d 1109, 1139 (9th Cir. 2009)).
 26             Although MACOM has tried to save its contract claims against Infineon
      AG based on conclusory theories of alter ego, agency, and ratification, MACOM
 27   does not have sufficient evidence to show likelihood of success on those theories.
      (Dkt 99 at 13:4–16:16.)
 28
                                                  25
                                                        DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
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